        Case 1:24-cv-02646-JMF                Document 123           Filed 01/03/25   Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
CHEMIMAGE CORPORATION,                                                 :
                                                                       :
                                    Plaintiff,                         :         24-CV-2646 (JMF)
                                                                       :
                  -v-                                                  :              ORDER
                                                                       :
JOHNSON & JOHNSON et al.,                                              :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:
       The parties consent to the Court conducting a bench trial in this matter. See ECF No. 34.
As discussed during the conference held on January 3, 2025, the following schedule shall
govern the further conduct of pretrial proceedings in this case:
    1. By January 30, 2025, the parties shall file a Joint Pretrial Order, including any and all
       information relevant to the trial referenced in the Court’s (recently amended) Individual
       Rules and Practices in Civil Cases (available at https://nysd.uscourts.gov/hon-jesse-m-
       furman) with respect to Joint Pretrial Orders.

    2. At the same time, the parties shall each file Proposed Findings of Fact and Conclusions
       of Law. As there may be no opportunity for post-trial submissions, the Proposed
       Findings of Fact should be detailed and should include citations to the proffered trial
       testimony and exhibits, and the Proposed Conclusions of Law shall include all law that
       the parties wish to submit to the Court. The parties may not submit additional
       memoranda of law (before or after trial) without leave of Court.

    3. At the same time, the parties shall serve, but not file, affidavits constituting the direct
       testimony of each trial witness, except for the direct testimony of an adverse party, a
       person whose attendance is compelled by subpoena, or a person for whom the Court has
       agreed to hear direct testimony live at the trial. Witness affidavits are subject to the same
       rules and restrictions as would apply in the case of live testimony (i.e., they are a direct
       substitute for the live direct testimony), so the parties should be diligent in complying
       with all applicable Rules of Evidence, including but not limited to the rules regarding
       hearsay, personal knowledge, and proper foundation (e.g., as to any evidence offered in
       connection with the witness’s direct testimony). Additionally, Rule 615 of the Federal
       Rules of Evidence applies to the witness affidavits just as it would if the witnesses were
       providing live testimony in open court. That is, fact witnesses may not read any affidavit
       of another witness (unless and until the Court grants leave to do otherwise in accordance
       with Rule 615). It is counsel’s obligation to ensure that witnesses are aware of, and
   Case 1:24-cv-02646-JMF           Document 123         Filed 01/03/25      Page 2 of 3




   comply with, that rule. At trial, the parties will be permitted to conduct a short (15-20
   minute) supplemental live direct as to each witness, with such time to be deducted from
   the total time allotted to that side.

4. At the same time, the parties shall also serve, but not file, all deposition excerpts that will
   be offered as substantive evidence, as well as a one-page synopsis (with transcript
   citations) of those excerpts for each deposition.

5. At the same time, the parties shall provide the Court with an electronic copy of each
   exhibit sought to be admitted (with each filename corresponding to the relevant exhibit
   number — e.g., “PX-1,” “DX-1,” etc.) on either a CD-ROM or a flash drive. If
   submission of electronic copies would be an undue burden on a party, the party may seek
   leave of Court (by letter-motion filed on ECF) to submit prospective documentary
   exhibits in hard copy. Each hard copy shall be pre-marked (that is, with an exhibit
   sticker) and assembled sequentially in a loose leaf binder (not to exceed 2 1/2 inches in
   thickness) or in separate manila folders labeled with the exhibit numbers and placed in
   redweld folders labeled with the case name and docket number. The parties shall also
   provide, by e-mail to the Court (Furman_NYSDChambers@nysd.uscourts.gov), a
   Microsoft Word document listing all exhibits sought to be admitted. The list shall
   contain four columns labeled as follows: (1) “Exhibit Number”; (2) “Description” (of the
   exhibit); (3) “Date Identified”; and (4) “Date Admitted.” The parties shall complete the
   first two columns, but leave the third and fourth columns blank, to be filled in by the
   Court during trial.

6. Three business days after submission of the affidavits discussed above, counsel for
   each party shall file a list of all affiants whom he or she intends to cross-examine at the
   trial. Only those witnesses who will be cross-examined need to appear at trial. The
   original signed affidavits should be brought to trial to be marked as exhibits.

7. By February 6, 2025, the parties shall file any reply memorandum of law to any
   memorandum filed with the Joint Pretrial Order.

8. By the same date, each side shall file, with respect to each direct testimony affidavit
   submitted by the opposing side, a chart with three columns: (1) listing any paragraph
   number of the affidavit to which the side objects; (2) the text of the paragraph subject to
   objection; and (3) the basis for the objection (e.g., “hearsay,” “lack of personal
   knowledge,” “foundation,” “relevance,” etc.).

9. Counsel shall appear for a final pretrial conference on March 13, 2025, at 11:15 a.m.., in
   Courtroom 1105 of the Thurgood Marshall Courthouse, 40 Centre Street, New
   York, New York. The final pretrial conference must be attended by the attorneys who
   will serve as principal trial counsel.

10. Trial will begin on March 17, 2025, at 9 a.m. The parties should be prepared to sit full
    days (i.e., 9 a.m. to 5 p.m.) — though the Court will address the schedule in more detail
    at the final pretrial conference. Counsel should familiarize themselves with the Court’s
      Case 1:24-cv-02646-JMF           Document 123         Filed 01/03/25      Page 3 of 3




      Individual Rules and Practices for Trials, available at https://nysd.uscourts.gov/hon-jesse-
      m-furman.

   11. The trial date is a firm date. The parties are advised that the trial date will not be
       adjourned on account of a settlement in principle; put differently, unless the parties
       (1) file a stipulation of dismissal or settlement or (2) appear in person to put the material
       terms of a settlement on the record (and the Court approves the settlement to the extent
       that such approval is required), the parties should be prepared to go to trial as scheduled..

      SO ORDERED.

Dated: January 3, 2025                             __________________________________
       New York, New York                                   JESSE M. FURMAN
                                                          United States District Judge
